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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

  Caption in Compliance with D.N.J. LBR 9004-1(b)   BROWN RUDNICK LLP
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                                                               Chapter 11

  In re:                                                       Case No.: 23-12825 (MBK)

  LTL MANAGEMENT LLC,1                                         Honorable Michael B. Kaplan

                                     Debtor.



  LTL MANAGEMENT LLC,                                           Adv. Pro. No. 23-01092 (MBK)
                                     Plaintiff,

            v.


  THOSE PARTIES LISTED ON
  APPENDIX A TO COMPLAINT
  and JOHN AND JANE
  DOES 1-1000,

                                     Defendants.



             AMENDED NOTICE OF APPEAL AND STATEMENT OF ELECTION



           Part 1: Identify the Appellant(s):

           1. Names(s) of appellant(s): The Official Committee of Talc Claimants.

           2. Position of appellant(s) in the bankruptcy case that is the subject of this appeal:

 Appellant is an official committee of tort claimants in the underlying bankruptcy case. Appellant

 is also an intervenor in Adversary Case No. 23-01092 (MBK).




 1 The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
   Street, New Brunswick, New Jersey 08933.



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        Part 2: Identify the subject of this appeal:

        1. Describe the judgment, order, or decree appealed from: Appellant, pursuant to 28

 U.S.C. § 158(a) and Federal Rules of Bankruptcy Procedure 8001(a), hereby gives notice of appeal

 to the United States District Court for the District of New Jersey from each and every part of the

 order of the United States Bankruptcy Court for the District of New Jersey of as follows:

        (a) the Order of April 20, 2023 granting in part the relief sought by Debtor’s Motion For

 An Order (I) Declaring That The Automatic Stay Applies Or Extends To Certain Actions Against

 Non-Debtors, (II) Preliminarily Enjoining Such Actions, And (III) Granting A Temporary

 Restraining Order Ex Parte Pending A Hearing On A Preliminary Injunction (annexed hereto, as

 Exhibit “A,” is a copy of the Transcript of the United States Bankruptcy Court’s ruling read into

 the record on April 20, 2023 (Adversary Case No. 23-01092 (MBK))); and

        (b) the Order of the same date granting a preliminary injunction prohibiting the

 commencement or continuation of any trial against any of the protected parties identified in

 Appendix B to the verified complaint in Adversary Case No. 23-01092 (MBK), as amended,

 through and including June 15, 2023 (see Exhibit “A” annexed hereto);

        (c) the Bench Order of the Court of the same date (see Exhibit “A” annexed hereto);

        (d) [amendment] the Order Dissolving Temporary Restraining Order, Extending the

 Automatic Stay, and Granting Limited Preliminary Restraints, filed April 25, 2023 (Adversary

 Case No. 23-01092 (MBK)) (annexed hereto as Exhibit “D”; and

        (e) [amendment] the Memorandum Opinion by Chief Judge Michael B. Kaplan, United

 States Bankruptcy Court, District of New Jersey in support of the Order Dissolving Temporary




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 Restraining Order, Extending the Automatic Stay, and Granting Limited Preliminary Restraints,

 filed April 27, 2023 (Adversary Case No. 23-01092 (MBK)) (annexed hereto as Exhibit “E”).

        2. State the date on which the judgment, order, or decree was entered: The Bench

 Order (see Exhibit “A” annexed hereto) was issued on April 20, 2023. [Amendment] The Order

 Dissolving Temporary Restraining Order, Extending the Automatic Stay, and Granting Limited

 Preliminary Restraints (see Exhibit “D” annexed hereto) and the Memorandum Opinion by Chief

 Judge Michael B. Kaplan, United States Bankruptcy Court, District of New Jersey in support of

 the Order Dissolving Temporary Restraining Order, Extending the Automatic Stay, and Granting

 Limited Preliminary Restraints (see Exhibit “E” annexed hereto) were entered on April 25, 2023

 and April 27, 2023, respectively.

        Part 3: Identify the other parties to the appeal:

        List the names of all parties to the judgment, order, or decree appealed from and the names,

        addresses, and telephone numbers of their attorneys:



                  Party                                          Attorneys
  Appellant: the Official Committee of      GENOVA BURNS LLC
  Talc Claimants                            Daniel M. Stolz, Esq.
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                                     Committee of Talc Claimants



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  Defendants (see Exhibit B)                See Exhibit B


  Interested party: the Protected Parties   See Exhibit C
  (see Exhibit C)
  Interested party/objector: Arnold &       PACHULSKI STANG ZIEHL & JONES LLP
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  Interested party/objector: Paul Crouch,   LEVY KONIGSBERG, LLP
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  Interested party/objector: Travelers       GIMIGLIANO MAURIELLO & MALONEY
  Casualty and Surety Company (f/k/a         A Professional Association
  The Aetna Casualty and Surety              Stephen V. Gimigliano
  Company)                                   John Maloney Robin Rabinowitz
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  Interested party/objector: United States   THE OFFICE OF THE UNITED STATES
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  Interested party/objector:                 MAUNE RAICHLE HARTLEY FRENCH &
  Mesothelioma Plaintiff Katherine           MUDD, LLC
  Tollefson and Certain Mesothelioma         Clayton L. Thompson, Esq.
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                                         Tel: (800) 358-5922



 Part 4: Not Applicable (No BAP in this District)

 Part 5: Signature

  DATED this 2nd day of May 2023.
                                                  Respectfully submitted,

                                                  GENOVA BURNS, LLC



                                                  By:      /s/ Daniel M. Stolz
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                                                  Proposed Local Counsel to the Official
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